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                                           TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                                           PARA EL DISTRITO DE PUERTO RICO



Mcleod-Lopez
Demandante                                            Núm. Civil 3:2023-cv-01273-FAB
v.

Dumeng-Juarbe                                         PROGRAMA PRO BONO
Demandados


                          NOTIFICACIÓN DE NOMBRAMIENTO DE ABOGADO

    El día 17 de julio de 2023, el Tribunal emitió una orden (ECF Núm. 5), ordenando la designación de
un abogado para la parte peticionaria Matthew C Mcleod-Lopez, conforme con la Regla Local 83L según
se indica a continuación.
  1.   El abogado nombrado para representar a la parte peticionaria en este caso es:

       Lic. Natalia Marín-Catalá
       Dirección Postal:
       270 Muñoz Rivera Ave. 9th Floor
       San Juan, Puerto Rico 00918
       Teléfono: 7872505648 787-599-6195
       Correo Electrónico: nmc@mcvpr.com

  2.   El abogado nombrado se comunicará con la parte peticionaria dentro de los próximos treinta
       (30) días para una consulta inicial.

  3.   Por lo tanto, todos los procedimientos en esta acción quedan suspendidos por treinta (30) días a
       partir de la fecha de esta notificación, para darle suficiente tiempo al abogado para que se reúna
       con la parte peticionaria y se prepare para su representación.

  4.   La parte peticionaria podrá solicitar al Tribunal que releve al abogado designado y le nombre
       uno/a nuevo/a. Esta solicitud se debe hacer dentro de los primeros treinta (30) días a partir de
       la consulta inicial de la parte peticionaria con el abogado aquí nombrado. Si se demuestra que
       hay justa causa, el Tribunal puede extender el periodo de tiempo.

  5.   Si se nombrase a un/a segundo/a abogado/a y posteriormente se le relevase a solicitud de la
       parte peticionaria, no se le nombrará más abogados en este caso a no ser que se demuestre
       contundentemente que hay motivo fundado para ello.

  POR ORDEN DEL TRIBUNAL.

  En San Juan, Puerto Rico, este día 18 de julio de 2023.
                                                     Lcda. Ada I. García Rivera, CPA
                                                     Secretaria del Tribunal

                                                     Por: S/JORGE SOLTERO PALES
                                                          Subsecretario del Tribunal
